        Case 4:13-cr-00003-JLK                 Document 77             Filed 08/01/14          Page 1 of 6             Pageid#: 230

              Sheetl


                                      UNITED STATES DISTRICT COURT                                                     JU
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                                                 W estern D istrictofV irginia                                              D           LE

         UNITED STATES OF AM ERICA                                      JUDGM ENT IN A CRIM G AL CASE
                            V.                                                       . DVAW 413CR000003-002
                                                                        CaseN lzm ber'
       W ENDY LOVETTE COLE                                              Case Num ber'
                                                                                    .
                                                                        U SM N um ber: 17910-084
                                                                        JonathanA .Sim m s                                  '
                                                                        Defendant'sAttorney
THE DEFEN DANT'
              .
K pleadedguiltytocountts) Count2
Z Pleadednolocontenderetocountts)                                                                      '                                         '
   whichwisacceptedby thecourt.
Z wasfotmdguiltyoncountts)
   aftera pleaofnotguilty,

Thedefendantisadjudicatedguiltyoftheseoffenses:
  Title& Section               NatureofOffense                                                          OlenseEnded                     Count
18U.S.C.j1956(h) MoneyLaundering                                                                                3/2010




       Thedefendantissentencedasprovidedinpages2through                       6       ofthisjudgment.Thesentenceisimposedpursuantto
the Sentencing Reform Actof 1984.
Z Thedefendanthasbeenfoundnotguiltyoncountts)
X Counttsl                l                 X is Z aredismissedonthemotionoftheUnitedStates.
     iliItisorderedthatthedefendyntmustnotifytheUnltedSàtesattomeyforthisdiltrjctwithih30daysof>nychangeofname,residepce
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                                                                                                                    pald.Iforderedtopayrestitutlon,
                                                                        8/1/2014
                                                                       DateofImpositionofJudgment
                                                                                                                                &

                                                                                                            <
                                                                       Signahve fludge



                                                                        Jackson L.Kiser,SeniorUnited StatesD istrictJudge
                                                                       Name and TitleofJudge


                                                                       Date
                                                                                         l
          Case 4:13-cr-00003-JLK                  Document 77            Filed 08/01/14       Page 2 of 6      Pageid#: 231
AO 2458       (Rev.9/11-VAW Additions6/05)JudgmentinCriminalCase
              Sheet2 -Imprisonment
                                                                                                   Judgment-Page   2   of     6
DEFEND AN T: W ENDY LOVETTE COLE
CA SE N UM BER :DVAW 413CR000003.002


                                                              IM PRISONM ENT

       Thedefendantisherebycomm ittedtothecustodyoftheUnitedStatesBureau ofPrisonstobeim prisonedfora
totalterm of:
   13 m onths




     Z ThecourtmakesthefollowingrecommendationstotheBureauofPrisons:



     EEI ThedefendantisremandedtothecustodyoftheUnitedStatesMazshal.
     IZI ThedefendantshallsurrendertotheUnitedStatesMarshalforthisdistrict:
         L at                             L a.  m. L pm .            .


        EEEI asnotifiedbytheUnitedstatesMarshal.
     K ThedefendantshallsurrenderforservioeofsentenceattheinstitutiondesignatedbytheBureauofPrisons:
         C 1 before               on
          K asnotifiedbytheUnitedStatesMarshal.
          N     asnotifiedbytheProbationorPretrialServicesOffice.

                                                                   R ETU R N
 Ihaveexecutedthisjudgmentasfollows:




          Defendantdelivered on                                                      to

 a                                                   ,   withacertifiedcopyofthisjudgment.


                                                                                                UNITED STATESMARSHAL

                                                                          By
                                                                                             DEPUTY UNITED STATESMARSHAL
      Case 4:13-cr-00003-JLK                Document 77          Filed 08/01/14         Page 3 of 6        Pageid#: 232


AO2458     (Rev.9/11-VAW Additions6/05)JudgmentinaCriminalCase
           Sheet3- SupervisedRelease
                                                                                               Judgment--page    3    of       6
DEFENDANT: W ENDY LOVETTE COLE
CASE NUM BER:DVAW 413CR000003-002
                                                   SUPERVISED RELEA SE
Uponreleasefrom imprisonm ent,thedefendantshallbeon supervisedreleaseforaterm of:
3 years

         Thedefendantmustreportto the probation oftk e in the districttowhichthe defendantisreleasedw ithin 72 hoursofrelease from the
custody ofthe Bureau ofPrisons.
Thedefendantshallnotcom mitanotherfederal,stateorlocalcrim e.
ThedefendantshallnotunlawfullypgssessacontrolledspbjtancesThedefendantshallrefrain from any unlawfuluseofaçontrolled
substance.Thedefepdantshallsubmlttoonedrugtestwlthln 15daysofreleasefrom imprisonm entandatleasttwoperiodlcdrugtests
thereafter,asdeternunedbythecourt.
E1 Theabovedrugtestingcondition issuspended,basedon thecourt'sdeterminationthatthedefendantposesalow risk of
     futuresubstanceabuse.(check,çapplicable)
K    Thedefendantshallnotpossessafirearm,ammunition,destructivedevice,oranyotherdangerousweapon.(Check,fapplicable.
                                                                                                                  )
K    ThedefendantshallcooperateinthecollectionofDNA asdirectedby theprobationofficer.(check,fapplicable)
     Thdi
       edefendantshallcomplywiththerequirementsottheSexOffenderRegistrationandNotificationAc!(42U.S.C.j16901,çtseq.
                                                                                                                  )
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         ege dby thep r
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     works,lsastudent,orwasconvlctedofaquallfylngoffenle. (Checkfapplicable.
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                                                                                                  chheorsheres
                                                                                                             ldes,

     Thedefendantshallparticipateinanapprovedprogram fordom esticviolence.(Check fapplicable.
                                                                                            )
        lfthisjudgmentimposeqafineorrestitution,itisaconditionofsupervisedreleasethatthedefendantpayinaccordancewiththe
ScheduleofPaymentssheetofthlsjudgment.
         Thedefendantmustcomplywiththestandard conditionsthathavebeen adoptedbythiscourtaswellasw ithanyadditionalconditions
on theattached page.

                                       STANDARD CONDITIO NS O F SUPERVISIO N
     thedefendantshallnotleavethejudicialdistrictwithoutthepermissionofthecourtorprobationofficer;
  2) thedefendantshallreporttotheprobationoftkerinamannerandfrequencydirectedbythecourtorprobationoftker;
         thedefendantshallanswertruthfully a1linquiriesbytheprobationofficerandfollow theinstructionsoftheprobationofficer;
  4) thedefendantshallsupporthisorherdependentsandmeetotherfamily responsibilities'
                                                                                  ,
  5) thedefendantshallworkregularlyatalawfuloccupation,unlessexcusedbytheprobationofficerforschooling,training,orother
         acceptablereasons;
  6) thedefendantshallnotifytheprobationofficeratleastten dayspriorto any changeinresidenceoremployment;
         thedefendantshallrefrainfrom excessiyeuseofalcoholandshallnotpurchase,possess,use,djstribute,oradpjnisterany
         controlled substanceorany paraphernalla related to any controlled substances,exceptasprescrlbed by a physlclan;
  8) thedefendantshallnotfrequentplaceswherecontrolledsubstancesareillegallysold,used,distributed,oradministered;
  9) f
     thedefendantshallnotassoçialewithanyp
      elony,unlessgrantedpenm sslontodo so'
                                           ersonsengagedincriminalactivityandshallnotassociatewithanypersonconvictedofa
                                          bytheprobatlonofficer;
 10) thedefendantshallpem itqprqbationofficertoyisithimorheratanytimeathomeorelsewhereandshallpennitconfiscationofany
         contraband observed m plaln vlew oftheprobatlon officer;
         thedefendantshallnotify theprobation oftk erwithin seventy-two hoursofbeing arrestedorquestioned by a law enforcem entoftk er;
         thedsfepdantshallnotenterinto any agreementto actas an informeror a specialagentofa law enforcem entagency w ithoutthe
         perm lsslon ofthecourt;and

         asdirectedbytheprpbationofficer,thg(efendantshallnotifythirdparjesofrisksthatmaybeoccajionepbythedefendant'scriminal
         reec
         d   ordorpersonaljustoryprcharacteqlstlcsandshallpermittheprobatlonofticertomakesuchnotlfkatlonsandtoconfirm the
            fendanfscom pllance wlth such notlfication requirem ent.
       Case 4:13-cr-00003-JLK                Document 77          Filed 08/01/14       Page 4 of 6       Pageid#: 233
 AO 2458    (Rev.9/11-VAW Additions6/05)JudgmentinaCriminalCase
            Sheet3C -SupervisedRelease
                                                                                              Judgment-page    4   of       6
 D EFEN DA NT : W EN DY LOVETTE COLE
 CASE N UM BER;D VA W 413CR000003-002

                                  SPECIAL CO NDITIONS O F SUPERVISION
l.Thedefendantshallpay any specialassessmentfineand/orrestimtionthatisimposedby thisjudgment.
2. The defendantshallparticipatein aprogram ofm entalhealth keatm ent,asapprovedby theprobationofticer,untilsuchtimeasthe
defendanthassatisfiedallrequirem entsoftheprogram .
3. The defendantshallreside in aresidence free offirearm s,ammunition, destructivedevices,and dangerousw eapons.
         Case 4:13-cr-00003-JLK               Document 77          Filed 08/01/14     Page 5 of 6           Pageid#: 234

AO2458    (Rev.9/11-VAW Additions6/05)JudgmentinaCriminalCase
          Sheet5-CriminalM onetaryPenalties
                                                                                         Judgm ent-Page        5     of       6
D EFEN D AN T: W ENDY LOV ETTE COLE
CA SE N UM BER :DV AW 413CR000003-002
                                         CRIM INAI,M ONETM W PEN AI,TIES
    The defendantmustpay the totalcrim inalm onetary penaltiesundertheschedule ofpaymentson Sheet6.

                    Assessm ent                                  Fine                            Restitution
TO TALS          $ 100.00                                   $                                $


E11 Thedeterminationofrestimtionisdeferreduntil                 .AnAmendedludgmentinaCriminalCase(A0 245C)willbeentered
    ahersuch determ ination.

(ZI Thedefendantmustmakerestitution(includingcommunityrestitution)tothefollowingpayeesintheamountlistedbelow.
    Ifthedefendantmakesapartialpayment,eachpayeeshallreceiveanapproxim atelyproportionedpaym ent,unlessspecified othenvise
    inthepriorityorderorpercentagepaymentcolumnbelow.However,pursuantto18U.S.C j3664(1),allnonfederalvictimsmustbe
    paidbeforetheU nited Statesispaid.
Nam eofPayee                                       TotalLoss*                Restitution O rdered              Prioritv orPereentaee




TO TALS                                                           $0.00                             $0.00

Z   Restitutionamountorderedpursuanttopleaagreement$
Z Thedefendantmustpayinterestonrestimtionandafineofmorethan$2,500,unlesstherestitutionortineispaidinfullbeforethe
  fiheenthdayafterthedateofthejudgment,pursuantto18U.S.C.j3612(9.AllofthepaymentoptionsonSheet6maybesubject
  topenaltiesfordelinquencyanddefault,pursuantto12U.S.C.j3612(g).
Z   Thecourtdeterminedthatthedefendantdoesnothavetheabilitytopayinterestanditisorderedthat:
    EZI theinterestrequirementiswaivedforthe E11 fine EEI restitution.
    F-I theinterestrequirementforthe            fine F-l restitutionismodifiedasfollows:


*Findingsforthetotalam ountoflossesare required tmderChapters 109A,110,1IOA,and 113A ofTitle 18 foroffensescomm itted on
oraler Septem ber 13,1994,butbeforeApril13,1996.
          Case 4:13-cr-00003-JLK              Document 77          Filed 08/01/14         Page 6 of 6         Pageid#: 235
AO 2458     (Rev,9/l1-VAW Additions6/05)JudgmentinaCriminalCmse
            Sheet6 -ScheduleofPayments

DEFENDANT: W ENDY LOVETTE COLE                                                                            Judgm ent-Page 6 of 6
CA SE NUM BER:DVAW 413CR000003-002

                                                SC H ED U LE O F PA Y M ENT S
Having assessed the defendant'sability to pay,the totalcrim inalmonetary penaltiesaredue im m ediately and payable asfollow s:

A (K Lumpsum paymentof$100.00             irmnediately,balancepayable
        IZ notlaterthan                         ,or
        (7) inaccordance       I
                               Z C, ((((jD, I111E, (Z F or,I     Z Gbelowl;or
BI Z Paymenttobeginimmediately(maybecombinedwith EZIC, Z D, I       Z F,or Z G below);or
  ID Paymentinequal                     (e.g.,weekly,monthly,quarterly)installmentsof$                                  overaperiodof
                          (e.g.,monthsoryears),tocommence                        (e.g.,30or60days)afterthedateofthisjudgment;or
D (71 Paymentinequal                                 (e.g.,weekly,monthly,quarterly)installmentsof$                     overaperiodof
                          (e.g.,monthsoryears),tocommence                        (e.g.,30or60days)afterreleasefrom imprisonmentto a
          term ofsupervision;or
   I
   J Paymentduringtheterm ofsupeNisedreleasewillcommencewithin                                 (e.g.,30or60days)afterreleasefrom
           imprisonment.Thecourtwillsetthepaymentplanbasedon anassessmentofthedefendant'sabilitytopayatthattim e;or
   I
   Z Duringtheterm ofimprisonment,paymentinequal                               (e.g.,weekly,monthly,quarterly)insullmentsof
          $               ,or         % ofthedefendant'sincome,whicheveris greater xtocommence                   (e.g.,30or
          60days)afterthedateofthisjudgment;AN.  Dpaymentinequal                    (e.g.,weekly,monthly,quarterly)
          installmentsof$                dtlringthetennofsupervisedrelease,tocommence                    (e.g.,30or60days)
          aAerrelease from im prisonm ent.
G Eql Specialinstructionsregardingthepaymentofcriminalmonetarypenalties:


Any installmentscheduleshallnotprecludeenforcementoftherestimtionorfineorderbytheUnited Statesunder18U.S.C jj3613 and
3664(119.
Anyinstallmentscheduleissubjecttoadjustmentbythecourtatanytimedtlringtheperiodofimprisonmentorsupervision,andthedefendant
shallnotify the probation officerand theU .S.Attorney ofany change in the defendant'seconomic circum stancesthatm ay affectthe
defendant'sability to pay.
Allcriminalm onetarypenaltiesshallbemadepayabletotheClerk,U.S.D istrictCourt,210FranklinRd.,Suite540,Roanoke,Virginia24011,
fordisbursement.
Thedefendantshallreceivecreditfora1lpaymentspreviouslym adetoward any crim inalm onetaly penaltiesim posed.
Anyobligationtopayrestitutionisjointandseveralwithotherdefendants,ifany,againstwhom anorderofrestitutionhasbeenorwillbe
entered.
  I
  Z JointandSeveral
      DefendantandCo-DefendantNamesand CaseNumbers(includingdefendantnumber),Tote
                                                                                zlAmount,JointandSeveralAmount,and
      corresponding payee,ifappropriate.




  Z Thedefendantshallpaythecostofprosecution.
  I
  Z Thedefendantshallpaythefollowingcourtcostts):
  I
  --IThedefendantshallforfeitthedefendant'sinterestinthefollowingpropertytotheUnitedStates:




  Paymentsshallbeappliedinthefollowingorder:(1)assessment,(2)restitutionprincipal,(3)restimtioninterest,(4)fineprincipal,
  (5)fineinterest,(6)communityrestimtion,(7)penalties,and(8)costs,including costofprosecution andcotu'
                                                                                                     tcosts.
